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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                            No. 1:18-CR-00212-DAD-BAM

12                                    Plaintiff,           FINAL ORDER OF FORFEITURE

13                            v.

14    PATRICK J. WALLACE, and
      MICHAEL L. CROCKER,
15
                                      Defendants.
16

17           WHEREAS, on September 17, 2019, the Court entered a Preliminary Order of

18   Forfeiture, forfeiting to the United States all right, title, and interest of defendants Patrick J.

19   Wallace and Michael L. Crocker in the following property;

20                   a. Computer Equipment/Laptop, Make: HP, Model: 2000, serial number

21                       5CG3473GCC;

22                   b. Computer Equipment/Storage Device, Make: SeaGate, Model: FreeAgent

23                       GoFlex Desk, serial number NA0KJGRB, portable hard drive with adapter;

24                   c. Computer Equipment/Storage Device, Make: WD, Model: My Passport

25                       Ultra, serial number WXH1E85EWFMZ, portable hard drive;

26                   d. Computer Euqipment/Storage Device, Make: LFL, Model: N/A, serial

27                       number: N/A, USB flash drive, shape of Darth Vader;

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 1              e. Computer Equipment/Storage Device, Make: PNY, Model: 16GB USB flash

 2                 drive;

 3              f. Communication Devices-Portable/Cell Phone, Make: LG, Model: LS675,

 4                 Serial Number: 603CYHE 1119497;

 5              g. Communication Devices-Portable/Cell Phone, Make: Samsung, Model: SM-

 6                 J700T1, Serial Number: J700T1 UVU1APD3;

 7              h. Communication Devices-Portable/Cell Phone, Make: Samsung, Model:

 8                 SMJ327P, Serial Number: HEX 352 618 097 216 55;

 9              i. Communication Devices-Portable/Cell Phone, Make: PNY, Model: 16GB;

10              j. Communication Devices-Portable/Cell Phone, Make: PNY, Model: 16GB;

11              k. Computer Equipment/Printer, Make: Epson, Model: WF-2630, Serial

12                 Number: UMAY627891;

13              l. Three bags containing counterfeit making paraphernalia, including printer

14                 ink, acrylic paint, pigment, tools, brushes, rollers, markers, scissors, glue,

15                 spray cans, food coloring, gloves, sandpaper, razors, solvent, kettle, iron,

16                 and paper;

17              m. Two tables containing counterfeit making images;

18              n. The value, if any, on First California Bank, Visa Global Cash Card, account

19                 number ending in 5604;

20              o. The value, if any, on Green Dot Bank Visa Card, account number ending in
21                 6912;

22              p. Miscellaneous rewards cards in defendant’s name;

23              q. Miscellaneous boxes of blank printer paper and various loose sheets of

24                 printer paper containing images of U.S. Currency;

25              r. Pen+Gear expanding file containing counterfeit currency;

26              s. Bleached genuine $1 Federal Reserve Notes;
27              t. Bleached genuine $100 Federal Reserve Notes;

28              u. iFly brand rolling suitcase with miscellaneous items;
                                                   2
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 1                  v. REI coop bag containing hiking pack and water bottles;

 2                  w. New Balance shoes, black in color, in box;

 3                  x. JCPenny bag containing Nike Flex and Nike Downshifter shoes, with boxes;

 4                  y. Fragrance Outlet bag containing cologne and lotion merchandise;

 5                  z. Petco bag containing dog accessories;

 6                  aa. Andis MBG-2 Easy Clip groom electric clipper;

 7                  bb. Puma hat with Marshalls with retail tags;

 8                  cc. Casio G-Shock watch; and,

 9                  dd. HP Chromebook 14 laptop; serial number: 5CD8209KYR.

10          AND WHEREAS, beginning on September 27, 2019, for at least thirty (30) consecutive

11   days, the United States published notice of the Court’s Order of Forfeiture on the official

12   internet government forfeiture site www.forfeiture.gov. Said published notice advised all third

13   parties of their right to petition the Court within sixty (60) days from the first day of

14   publication of the notice for a hearing to adjudicate the validity of their alleged legal interest in

15   the forfeited property;

16          AND WHEREAS, the Court has been advised that no third party has filed a claim to the

17   subject property and the time for any person or entity to file a claim has expired.

18          Accordingly, it is hereby ORDERED and ADJUDGED:

19          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of

20   America all right, title, and interest in the above-listed property pursuant to 18 U.S.C. §§ 492,
21   982(a)(2)(B), and 28 U.S.C. § 2461(c), to be disposed of according to law, including all right,

22   title, and interest of Patrick J. Wallace and Michael L. Crocker.

23          2.      All right, title, and interest in the above-listed property shall vest solely in the

24   name of the United States of America.

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 1          3.      The United States Secret Service shall maintain custody of and control over the

 2   subject property until it is disposed of according to law.

 3   IT IS SO ORDERED.
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        Dated:     February 25, 2020
 5                                                      UNITED STATES DISTRICT JUDGE

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